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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

______________________________________________________________________________

UNITED STATES OF AMERICA                  :
                                          :
            Plaintiff,                    :
                                          :
      v.                                  :     C.A. No. 19-1548-LPS
                                          :     PUBLIC VERSION
SABRE CORP.,                              :
SABRE GLBL INC.,                          :     AMENDED ON APRIL 13, 2020
FARELOGIX INC., and                       :     TO CORRECT ATTORNEY
SANDLER CAPITAL PARTNERS V, L.P.,         :     LISTING
                                          :
            Defendants.                   :
______________________________________________________________________________


David C. Weiss, Laura D. Hatcher, and Shamoor Anis, UNITED STATES DEPARTMENT OF
JUSTICE, Wilmington, DE

Julie S. Elmer, Scott A. Westrich, Sarah P. McDonough, Robert A. Lepore, Aaron Comenetz,
Brian E. Hanna, Craig W. Conrath, Dylan M. Carson, Rachel A. Flipse, Michael T. Nash, Jeremy
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                                          OPINION




April 7, 2020
Wilmington, Delaware
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